Case 6:24-cv-01903-ACC-UAM    Document 96   Filed 03/31/25    Page 1 of 30 PageID 759




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 MEGAN GARCIA, individually and as the
 Personal Representative of the Estate of
 S.R.S. III,                                   Civil No: 6:24-cv-01903-ACC-EJK

         Plaintiff,
 v.
 CHARACTER TECHNOLOGIES, INC.;
 NOAM SHAZEER; DANIEL DE
 FRIETAS ADIWARSANA; GOOGLE
 LLC, ALPHABET INC.,

         Defendants.

     BRIEF OF ENCODE AI CORPORATION, DESIGN IT FOR US, AND
    YOUNG PEOPLE’S ALLIANCE AS AMICI CURIAE SUPPORTING THE
  PLAINTIFF AND OPPOSING THE DEFENDANTS’ MOTIONS TO DISMISS

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Case 6:24-cv-01903-ACC-UAM                  Document 96            Filed 03/31/25          Page 2 of 30 PageID 760




                                                Table of Contents


  STATEMENT OF INTEREST ............................................................................ 1

  SUMMARY OF ARGUMENT ........................................................................... 3

  ARGUMENT ..................................................................................................... 4

  I.   LLM Outputs Lack the Essential Characteristics of Constitutionally Protected
       Speech. ......................................................................................................... 4

       A. How LLMs Generate Text: Technical Reality vs. Public Perception. ........... 5

       B. LLM Outputs Lack the Expressive Intent Required for Constitutional
          Protection................................................................................................ 8

        1. Copyright Law Confirms that LLM Outputs Are Not Speech. .................. 11

        2. Human Prompting Does Not Transform LLM Outputs into Protected
            Speech. ............................................................................................... 12

  II. First Amendment Jurisprudence Recognizes the Right of Vulnerable Listeners
      to be Protected from Harmful Speech. ........................................................... 13

       A. Encouraging Suicide Falls Outside First Amendment Protection. .............. 15

       B. Children Merit Special Protections Under the First Amendment. .............. 16

  III. The Unique Characteristics of LLMs Justify Different Regulatory Approaches
       than for Human-Generated Speech. .............................................................. 18

  IV. Non-Expressive Design Elements Lack First Amendment Protection. ............. 19

  V. Further Factual Discovery is Warranted in This Case of First Impression. ....... 21

  CONCLUSION ................................................................................................ 22

  CERTIFICATE OF SERVICE .......................................................................... 24




                                                            ii
Case 6:24-cv-01903-ACC-UAM                   Document 96            Filed 03/31/25           Page 3 of 30 PageID 761




                                               Table of Authorities

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                                                             iii
Case 6:24-cv-01903-ACC-UAM                  Document 96            Filed 03/31/25         Page 4 of 30 PageID 762




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                                                            iv
Case 6:24-cv-01903-ACC-UAM                  Document 96            Filed 03/31/25         Page 5 of 30 PageID 763




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                                                            v
Case 6:24-cv-01903-ACC-UAM                    Document 96           Filed 03/31/25           Page 6 of 30 PageID 764




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                                                             vi
Case 6:24-cv-01903-ACC-UAM        Document 96       Filed 03/31/25   Page 7 of 30 PageID 765




                             STATEMENT OF INTEREST

     Amici curiae are organizations that represent young people in public, legislative, and

  judicial forums regarding the appropriate regulation of technologies incorporating

  generative artificial intelligence (“GenAI”)—including large language models

  (“LLMs”) such as OpenAI’s ChatGPT, Google’s Gemini, and Microsoft’s Copilot.

  Each individual amicus possesses extensive technical and legal experience regarding

  the appropriate regulation of such systems. Amici are therefore well-situated to advise

  this Honorable Court in this case of first impression on the long-term implications of

  its decision for young people and for American society at large.

     Amicus Encode AI Corporation (“Encode”) is America’s leading youth voice

  advocating for bipartisan policies to support human-centered AI development and

  U.S. technological leadership. Encode has secured landmark victories in Congress,

  from establishing the first-ever AI safeguards in nuclear weapons systems to

  spearheading federal legislation against AI-enabled sexual exploitation. Working with

  lawmakers, industry leaders, and national security experts, Encode champions policies

  that maintain American dominance in artificial intelligence while safeguarding

  national security and individual liberties.

     Amicus Design It For Us is a youth-led coalition comprised of people between the

  ages of 18 and 26 that advocates for safer online platforms and social media. Following

  its success in securing the unanimous passage of the California Age-Appropriate

  Design Code by the California Assembly and Senate, Design It For Us aims to drive



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Case 6:24-cv-01903-ACC-UAM         Document 96       Filed 03/31/25    Page 8 of 30 PageID 766




  and achieve key policy reforms to protect kids, teens, and young adults online through

  the mobilization of youth activists, leaders, and voices.

        Amicus Young People’s Alliance is a youth-led advocacy organization working to

  ensure that policies affecting young people include their perspectives. With teams on

  Capitol Hill, in state legislatures, and across 26 campuses, the Alliance has worked to

  advance the regulation of manipulative design practices by social media companies

  and the developers of AI chatbots that harm young people—including by filing a

  complaint with the Federal Trade Commission seeking an investigation into unfair

  and deceptive trade practices by an AI chatbot company.1

        As representatives of young people born and brought up in a digital age, Amici have

  a special interest in the First Amendment defenses raised by the Defendants. Accepting

  the Defendants’ notion that the First Amendment categorically bars liability for harms

  stemming from the outputs of LLMs risks repeating the mistakes of Lochner v. New

  York2 by stalling the development of the law in this field for decades to come—without

  even the benefit of a fully developed factual record. Correspondingly, Amici support

  the Plaintiff in her responses in opposition, (ECF Nos. 84, 85, 86) and urge this Court

  to deny the Defendants’ Motions to Dismiss (ECF Nos. 59, 61, 63, 65). So ruling




  1
   Andrew R. Chow, AI Companion App Replika Faces FTC Complaint, TIME (Jan. 28, 2025, 7:00 AM)
  https://time.com/7209824/replika-ftc-complaint/.
  2
      198 U.S. 45 (1905).


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Case 6:24-cv-01903-ACC-UAM               Document 96        Filed 03/31/25       Page 9 of 30 PageID 767




  would ensure that the “fact intensive” and “function by function” analysis deserved

  by this First Amendment case of first impression can take place. 3

                                    SUMMARY OF ARGUMENT

        The textual outputs of large language models (LLMs), such as those generated by

  Character AI’s chatbot, are not “speech” within the meaning of the First Amendment

  because they lack human intent and expressive purpose. LLMs do not think and feel

  as humans do; rather, they generate text through statistical methods based on patterns

  found in their training data. As such, their outputs should not be treated as

  constitutionally protected speech.

        Just as copyright law excludes non-human-generated content from protection on

  similar grounds, the First Amendment should not be extended to treat the outputs of

  LLMs as protected speech. To do so would erode the ability of courts and legislatures

  to address the distinctive manner in which LLMs and other generative AI systems

  generate harms—and the fact that such harms can only be remedied by design

  interventions.

        To the extent that First Amendment interests are implicated by this case, they

  require a fact-intensive inquiry that cannot be accomplished at the motion to dismiss

  stage. Without the benefit of a factual record, it would be premature—and doctrinally

  inappropriate—for the Court to dismiss this case on First Amendment grounds.




  3
      Moody v. NetChoice, LLC, 603 U.S. 707, 747 (2024) (Barrett, J., concurring).


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Case 6:24-cv-01903-ACC-UAM          Document 96        Filed 03/31/25     Page 10 of 30 PageID 768




                                          ARGUMENT

  I. LLM Outputs Lack the Essential Characteristics of Constitutionally Protected
     Speech.

        Large language models (“LLMs”) power the textual output of chatbot applications

  such as the one developed by defendant Character Technologies, Inc. (“Character AI”

  or “C.AI”) that is at the heart of these proceedings.4 LLMs, in turn, are one species in

  a family of generative artificial intelligence technologies (“GenAI”) which can

  generate images, videos, and music in response to prompts entered by a user. 5

        LLMs generate “seemingly humanlike language and thought,”6 leading many to

  believe that the applications with which they are interacting can engage in

  understanding, reasoning, or even intentional behavior. Such perceptions are false,

  however, as LLMs are advanced text prediction systems that generate text one word

  at a time.7 They do so by selecting the next word from a set of statistically most likely

  next words, based on patterns identified from their training data. 8 As explained below,

  the lack of human intentionality underlying the generation of outputs by LLMs and

  4
   See First Amended Complaint ¶ 130 (noting “C.AI is a chatbot application that allows customers to
  have conversations with C.AI’s LLM, manifested in the form of ‘Characters’ created with added
  context provided by other customers.”).
  5
   See generally ARVIND NARAYANAN & SAYASH KAPOOR, AI SNAKE OIL: WHAT ARTIFICIAL
  INTELLIGENCE CAN DO, WHAT IT CAN’T, AND HOW TO TELL THE DIFFERENCE Ch. 4 (2024) ch. 4
  (2024).
  6
   Noam Chomsky, Ian Roberts & Jeffrey Watumull, The False Promise of ChatGPT, N.Y. TIMES (Mar
  8, 2023), https://www.nytimes.com/2023/03/08/opinion/noam-chomsky-chatgpt-ai.html.
  7
   Harry Surden, ChatGPT, Large Language Models, and Law, 92 FORDHAM L. REV. 1942, 1949 (2024)
  (“LLMs are AI systems that are designed to understand and generate human language (as opposed
  to AI systems specialized for other tasks, such as driving cars or detecting fraud.)”).
  8
      Id. at 1951.


                                                  4
Case 6:24-cv-01903-ACC-UAM         Document 96    Filed 03/31/25   Page 11 of 30 PageID 769




  other GenAI technologies renders them ineligible for protection as speech under the

  First Amendment.

         A. How LLMs Generate Text: Technical Reality vs. Public Perception.

         LLMs are built to identify patterns in massive amounts of text. 9 They do not

  “learn” in the way humans do, but are “trained” by ingesting vast amounts of text to

  identify what words and phrases commonly appear together.10 For example, since the

  phrase “Today, I walked my dog” is far more common than the phrase “Today, I

  walked my iguana” in human language, an LLM asked to complete the phrase

  “Today, I walked my…” is far more likely to produce “dog” rather than “iguana”

  based on the frequency with which these words tend to appear next to each other.

  However, this does not mean the LLM “understands” what it means to walk a dog, or

  what a dog is, “in ways that are comparable or analogous to human cognitive

  understanding.”11 Rather, LLMs produce “statistical outputs that are responsive given

  the input and often approximate what a similarly situated person, who did understand

  the input at a cognitive level, would produce in response.”12

         LLMs generate output using a technique called tokenization, where text is broken

  into small pieces (“tokens”) and converted into numerical values that the LLM can




  9
      Id. at 1949.
  10
       Id. at 1954-55.
  11
       Id. at 1942 n.4.
  12
       Id.


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Case 6:24-cv-01903-ACC-UAM              Document 96    Filed 03/31/25   Page 12 of 30 PageID 770




  manipulate mathematically.13 Instead of reading words the way humans do, LLMs

  process long sequences of numbers that represent relationships between words. 14 The

  LLM then uses probability calculations to predict the next most likely token in a

  sentence.15 For instance, if given the phrase “The dog chased the…” as an input, an

  LLM might determine that “cat” is the most likely next word 50% of the time, followed

  by “mailman” 20% of the time, by “squirrel” 10% of the time, and so forth. The LLM

  cannot evaluate whether its choice is factually accurate, only whether it aligns with the

  statistical patterns found in its training data.16

         When a user submits a prompt to an LLM, as in the case of a conversation with

  the Character AI chatbot, the LLM treats this input as the beginning of a text

  sequence.17 It then generates a response using “conditional probability,” which

  involves repeatedly predicting the next most likely token based on the prompt itself,

  statistical associations contained in the LLM’s training data, and each previously

  generated token in the response.18 The user’s prompt establishes a context that

  influences which statistical patterns the LLM draws upon.19 For instance, if prompted



  13
   DAVID FOSTER, GENERATIVE DEEP LEARNING: TEACHING MACHINES TO PAINT, WRITE,
  COMPOSE, AND PLAY 146-49 (2d ed. 2023).
  14
    Abdallah Ashraf, Tokenization in NLP: All You Need to Know, MEDIUM (Jan. 30, 2024),
  https://medium.com/@abdallahashraf90x/tokenization-in-nlp-all-you-need-to-know-45c00cfa2df7.
  15
       Surden, supra note 7, at 1954.
  16
       Id. at 1955-56.
  17
       Id. at 1954.
  18
       Id. at 1955-56.
  19
       Id. at 1954.


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Case 6:24-cv-01903-ACC-UAM               Document 96   Filed 03/31/25   Page 13 of 30 PageID 771




  with “give me a recipe for a chocolate ganache cake,” the LLM will activate patterns

  related to recipes and dessert ingredients because these tokens frequently appear

  together in its training data. The LLM can’t appreciate—as we humans do—what

  chocolate cake is, how delicious it can be, or just how frustrating it can be to make the

  perfect ganache. That said, LLMs can recognize the statistical relationships between

  words in recipes contained in its training data and—in response to a prompt seeking a

  recipe—produce an output using the iterative token-by-token, word-by-word process

  described above. This lack of human-like cognitive understanding is why recipes

  generated by LLMs can range from delicious to unappetizing to toxic.20

         Experts often describe LLMs as sophisticated autocomplete systems because they

  generate text based on statistical patterns.21 While their outputs read coherently, this

  is only because LLMs produce outputs by predicting which words are likely to appear

  next to each other in a sequence.22 Unlike human speakers, LLMs do not have

  thoughts, beliefs, or feelings, nor do they have an internal sense of purpose;23 they

  merely string together words in a way that appears meaningful to the human reader. 24




  20
    Charlotte Engrav, AI Can Generate Recipes That Can Be Deadly, NPR (Sept. 23, 2024, 5:00 AM),
  https://www.npr.org/2024/09/23/g-s1-23843/artificial-intelligence-recipes-food-cooking-apple
  (noting how an LLM produced a recipe for a beverage containing bleach and ammonia, the mixture
  of which creates deadly chlorine gas).
  21
       Surden, supra note 7, at 1942 n. 4.
  22
       Id. at 1959-61.
  23
       Id. at 1949.
  24
       Id. at 1960.


                                                   7
Case 6:24-cv-01903-ACC-UAM               Document 96         Filed 03/31/25      Page 14 of 30 PageID 772




        B. LLM Outputs Lack the Expressive Intent Required for Constitutional
           Protection.

        The fact that LLMs lack consciousness or human-like understanding of what they

  are outputting has significant implications for how such outputs should be treated

  under the First Amendment. “Speech is speech,” states Character AI in its Motion to

  Dismiss,25 suggesting that the differences between the outputs of its LLM and

  “conversations with fictional characters or real users in … other media are ‘more a

  matter of degree than of kind’ for First Amendment purposes.”26 Yet no American

  court has so held, as this is a case of first impression regarding what, if any, First

  Amendment protections should be extended to the outputs of an LLM. Indeed, as

  Professor Cass Sunstein noted in an article published in December 2024, “it remains

  an unanswered question whether the First Amendment protects the rights of human

  viewers, listeners, and readers, seeking to see, hear, or read something from AI.”27

        Nor does Character AI’s characterization regarding the relationship between LLM

  outputs and the First Amendment withstand scrutiny. For more than two centuries,

  the First Amendment has protected the speech of human individuals and groups 28 on

  the theory that it serves fundamental human interests such as the search for truth and



  25
    Character AI Motion to Dismiss, ECF No. 59, at p. 7 (quoting Wollschlaeger v. Florida, 848 F.3d
  1293, 1307–11 (11th Cir. 2017) (en banc)).
  26
       Id. citing Brown v. Entertainment Merchants Assoc., 564 U.S 786, 798 (2011).
  27
    Cass R. Sunstein, Artificial Intelligence and the First Amendment, 92 GEO. WASH. L. REV. 1207, 1207
  (2024).
  28
    See, e.g., Roberts v. U.S. Jaycees, 468 U.S. 609, 617-18 (1984) (recognizing “a right to associate for
  the purpose of engaging in those activities protected by the First Amendment….”).


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Case 6:24-cv-01903-ACC-UAM              Document 96         Filed 03/31/25       Page 15 of 30 PageID 773




  democratic self-governance. 29 As the Supreme Court recognized in Spence v.

  Washington,30 nonverbal actions are protected by the First Amendment as expressive

  conduct so long as “[a]n intent to convey a particularized message was present, and in

  the surrounding circumstances the likelihood was great that the message would be

  understood by those who viewed it.”31

        Yet the outputs of LLMs are not the product of a sentient being with expressive

  intent. Indeed, in the view of the chief AI scientist at Meta—the parent company of

  Facebook, Instagram, and WhatsApp—dogs have a far greater capacity to think and

  express themselves than do today’s LLMs.32 Given that the text generated by an LLM

  is nothing more than the output of an automated system performing probabilistic

  calculations, its outputs should not be treated as protected speech under the First

  Amendment.

        LLM outputs might constitute communication, but not all communication qualifies

  as speech under the First Amendment.33 As Professors Karl Manheim and Jeffery Atik

  have explained, communication is a broad concept that includes the exchange of

  information between a sender and a receiver. Speech, however, is a subset of

  29
    Eugene Volokh, In Defense of the Marketplace of Ideas / Search for Truth as a Theory of Free Speech
  Protection, 97 VA. L. REV. 595 (2011).
  30
       Spence v. Washington, 418 U.S. 405 (1974).
  31
       Id. at 410-11 (1974).
  32
    Arjun Kharpal, Artificial Intelligence is Not Yet Smart as a Dog, CNBC (updated Jun. 15, 2023, 10:48
  AM), https://www.cnbc.com/2023/06/15/ai-is-not-even-at-dog-level-intelligence-yet-meta-ai-
  chief.html.
  33
   Karl M. Manheim & Jeffery Atik, AI Outputs and the Limited Reach of the First Amendment, 63
  WASHBURN L.J. 159, 161 (2024) [hereinafter Manheim & Atik—Washburn].


                                                       9
Case 6:24-cv-01903-ACC-UAM           Document 96         Filed 03/31/25    Page 16 of 30 PageID 774




  communication that requires both a speaker’s intent to express a message and a

  listener’s understanding that the source is communicating something,34 such as an

  offer, fact, opinion, idea, or emotion. Without expressive intent, communication

  cannot be protected speech under the First Amendment.35

        This principle applies to LLMs, which do not have subjective intent or autonomy

  in their outputs. Unlike a human author composing a political essay or a songwriter

  crafting lyrics to convey emotion—or even a horse whinnying in delight—an LLM

  does not “think” or “intend” anything. Instead, it generates text based on probabilistic

  predictions of the next most likely word, without regard for meaning, purpose, truth,

  or harm. This makes LLM outputs fundamentally different from human speech or the

  vocalizations of animals.

        The First Amendment, like all constitutional rights, exists to protect the rights of

  people.36 Speech is protected because it reflects an individual’s thoughts, creativity, or

  beliefs. However, machine-generated outputs that lack human intention cannot be said

  to express any individual’s thoughts, making them ineligible for First Amendment

  protection as speech.




  34
    Karl M. Manheim & Jeffery Atik. AI Outputs and the First Amendment 1 (Loyola Law School, Los
  Angeles Legal Studies Research Paper No. 2023-20) (2023);
  https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4524263 [hereinafter Manheim & Atik—
  Research Paper].
  35
       Manheim & Atik—Washburn, supra note 33, at 164.
  36
    Cf. Katz v. United States, 389 U.S. 347, 351 (1967) (“The Fourth Amendment protects people, not
  places.”).


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Case 6:24-cv-01903-ACC-UAM               Document 96          Filed 03/31/25   Page 17 of 30 PageID 775




         1. Copyright Law Confirms that LLM Outputs Are Not Speech.

         The treatment of content generated by automated systems under copyright law is

  instructive of whether LLM outputs can be speech under the First Amendment. As

  demonstrated below, the law has long held that creative works must be authored by

  human beings to qualify for copyright protection, among other conditions.

         The Supreme Court first articulated the requirement of human authorship in 1884,

  when it held that copyright law protects creative works only when they reflect human

  intellectual conception.37 The Court ruled that a photographer’s choices in composing

  a portrait of the author of A Picture of Dorian Gray, such as arranging Oscar Wilde’s

  pose and choosing how he was lit, demonstrated sufficient creativity to qualify for

  copyright protection.38 The key was that the photograph of Wilde was the product of

  human decision-making and artistic intent, rather than of a mere mechanical process. 39

         This principle has been reaffirmed in modern cases. In Naruto v. Slater, the Ninth

  Circuit denied copyright protection for a photograph taken by a monkey of itself,

  holding that copyright law requires a human creator. 40 As recently as March 18, 2025,

  the D.C. Circuit upheld the Copyright Office’s rejection of a registration request for an

  image generated by an AI system, reaffirming that human authorship is a necessary

  condition for copyrightability.41 Even when a human revised a prompt not once, nor


  37
       Burrow-Giles Lithographic Co. v. Sarony, 111 U.S. 53 (1884).
  38
       Id. at 60.
  39
       Id. at 59, 61.
  40
       Naruto v. Slater, 888 F.3d 418, 426 (9th Cir. 2018).
  41
       Thaler v. Perlmutter, No. 23-5233, 2025 WL 839178, at *4 (D.C. Cir. Mar. 18, 2025).


                                                       11
Case 6:24-cv-01903-ACC-UAM            Document 96      Filed 03/31/25     Page 18 of 30 PageID 776




  twice, but 624 times to refine a generative AI output, the Copyright Office Review

  Board found that such involvement does not meet the threshold for authorship when

  the traditional elements of creative expression originate from an AI, rather than a

  human.42

         These decisions make clear that AI-generated content does not qualify as human-

  authored expression, even when some level of human input is involved. The refusal of

  courts and tribunals to recognize AI-generated works as protectable expression in

  copyright law strongly suggests that AI outputs should not be treated as speech under

  the First Amendment either.43 Just as copyright law ensures that only human-created

  works receive legal recognition, the First Amendment should remain grounded in

  protecting speech that originates from an individual’s intentional expression.

         2. Human Prompting Does Not Transform LLM Outputs into Protected Speech.

         Some may argue that human prompts transform LLM outputs into protected

  speech. This argument fails, however, because LLMs produce unpredictable,

  autonomous outputs that cannot be attributed to human direction. 44 Professors

  Manheim and Atik explain this point by considering whether a student’s answer to a




  42
    See Letter from Suzanne V. Wilson, Gen. Couns. & Assoc. Reg. of Copyrights, U.S. Copyright
  Off., to Tamara Pester, Esq., Couns. to Jason M. Allen regarding registration of work “Théâtre
  D’opéra Spatial” (Sept. 5, 2023), at 2, 4-7 https://www.copyright.gov/rulings-filings/review-
  board/docs/Theatre-Dopera-Spatial.pdf.
  43
       Manheim & Atik—Research Paper, supra note 34, at 9.
  44
       Id. at 2, 8.


                                                  12
Case 6:24-cv-01903-ACC-UAM            Document 96        Filed 03/31/25       Page 19 of 30 PageID 777




  professor’s question is the speech of the student or the professor.45 Obviously, the

  answer is that the student’s answer is the student’s speech, because the student

  autonomously generates an answer to the professor’s question through their own

  cognitive process. By extension, while a human’s prompt into an LLM is the speech

  of the prompter, the output of the LLM is not the prompter’s speech, as it is generated

  by a process that is autonomous of the human.46 Yet since the LLM is not human—

  and lacks even the ability of a dog or cat or fruit fly to think, sense, and feel, its output

  cannot be speech in the First Amendment sense of the term—for speech requires

  communicative intent.

  II. First Amendment Jurisprudence Recognizes the Right of Vulnerable Listeners
      to be Protected from Harmful Speech.

         The First Amendment protects the rights of speakers and listeners.47 Courts have

  long recognized that the right to free speech includes the right to receive information

  and ideas, including controversial and unpopular ideas. 48 Yet listeners rights are a two-

  way street, as the First Amendment recognizes the right of listeners to be protected

  from communications whose manner causes harm in a particular time and place



  45
       Id. at 8
  46
       Id.
  47
   See, e.g. RonNell Andersen Jones, Press Speakers and the First Amendment Rights of Listeners, 90 U.
  COLO. L. REV. 499 (2019) (exploring the development of listeners’ rights conceptions of the First
  Amendment in scholarship and jurisprudence).
  48
    See, e.g. Stanley v. Georgia, 394 U.S. 557, 565 (1969) , 565 (“If the First Amendment means
  anything, it means that a State has no business telling a man, sitting alone in his own house, what
  books he may read or what films he may watch.”).


                                                    13
Case 6:24-cv-01903-ACC-UAM               Document 96        Filed 03/31/25        Page 20 of 30 PageID 778




  (subject to intermediate scrutiny), and even in view of their content (subject to strict

  scrutiny).

        Time and again, courts have upheld restrictions on speech to prevent deception 49

  and fraud.50 False or misleading commercial speech is wholly unprotected by the First

  Amendment because it frustrates listeners’ interests in receiving accurate

  information,51 while similar rationales underpin the availability of civil remedies for

  reputational harms.52

        Regardless of what First Amendment interests listeners may have in receiving the

  output of an LLM, this does not mean that the First Amendment confers blanket

  immunity from tort liability for harms stemming from such outputs. As three leading

  First Amendment scholars have noted:

                     “[C]overing AI speech under the First Amendment will
                     not insulate all of its outputs as speech, any more than
                     treating humans as rights-bearing speakers converts all
                     human behavior to speech, or insulates all of their speech
                     outputs from government regulation.”53




  49
   See, e.g., Friedman v. Rogers, 440 U.S. 1 (1979); Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of
  New York, 447 U.S. 557 (1980).
  50
    See, e.g., Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 771
  (1976) (recognizing that untruthful speech has never been protected for its own sake).
  51
    Toni M. Massaro, Helen Norton, & Margot Kaminski, SIRI-OUSLY 2.0: What Artificial Intelligence
  Reveals about the First Amendment, 101 MINN. L. REV. 2481, at 2519 (2017) [hereinafter Massaro et
  al.].
  52
    Gertz v. Robert Welch, Inc., 418 U.S. 323, 340 (1974) (recognizing erroneous statement of fact are
  not worthy of constitutional protection).
  53
       Massaro et al., supra note 51, at 2516.


                                                      14
Case 6:24-cv-01903-ACC-UAM              Document 96         Filed 03/31/25        Page 21 of 30 PageID 779




         Correspondingly, even if this Court determines that LLM outputs merit some level

  of First Amendment protection—either as “speech” or based on listeners’ interests in

  receiving information—such protections would be subject to longstanding First

  Amendment jurisprudence concerning when speech-related harms are addressable by

  statute or by tort.

         A. Encouraging Suicide Falls Outside First Amendment Protection.

         The law has long recognized that certain kinds of harmful speech and expressive

  conduct are not protected by the First Amendment, as they frustrate the First

  Amendment’s underlying purposes rather than advancing them. 54 Consistent with this

  logic, the Massachusetts Supreme Judicial Court recognized in Commonwealth v. Carter

  that utterances encouraging someone to take their own life can serve as the basis for

  criminal liability.55

         The Court in Carter upheld an involuntary manslaughter conviction against a

  girlfriend who encouraged her boyfriend to commit suicide, finding that “verbal

  conduct in the appropriate circumstances could overcome a person’s willpower to live

  and therefore … be the cause of suicide….”56 This is especially so where the words are

  directed at a vulnerable individual. The intimate relationship between Carter and the


  54
     See, e.g., United States v. Stevens, 559 U.S. 460 (2010); Virginia v. Black, 538 U.S. 343 (2003); R.A.V.
  v. City of St. Paul, 505 U.S. 377 (1992); New York v. Ferber, 458 U.S. 747 (1982); Miller v. California,
  413 U.S. 15 (1973); Brandenburg v. Ohio, 395 U.S. 444 (1969); Chaplinsky v. New Hampshire, 315 U.S.
  568 (1942).
  55
       Commonwealth v. Carter, 115 N.E.3d 559 (Mass. 2019)
  56
       Id. at 565-66.


                                                      15
Case 6:24-cv-01903-ACC-UAM              Document 96           Filed 03/31/25   Page 22 of 30 PageID 780




  decedent was of particular significance to the Court, for as his “girlfriend and closest,

  if not only confidant, in the suicidal planning,” Carter was in a unique position to

  overcome any willpower the victim had as a mentally ill individual.57

         The decision in Carter is distinguishable from McCollum v. CBS,58 in which a court

  in California declined to hold a music label liable for a song allegedly encouraging

  suicide, reasoning that passive media consumption could not create the requisite

  causal link for liability. As we explain in Part III, infra, interactions with LLMs can be

  of a sufficiently intimate and interactive nature to establish the causal nexus between

  words and actions found in Carter.

         B. Children Merit Special Protections Under the First Amendment.

         Likewise, the Supreme Court has long recognized the state’s compelling interest in

  protecting minors, which justifies shielding them from harmful materials. In Ginsberg

  v. New York, the Court upheld a statute prohibiting the sale of sexually explicit

  magazines to minors, reasoning that while the material was not obscene for adults, the

  state’s compelling interest in protecting minors justified stricter regulation. 59 Similarly,

  in F.C.C. v. Pacifica, the Court justified restrictions on the broadcast of seven

  particularly profane words because the nature of radio and television broadcasting




  57
       Id. at 568.
  58
       McCollum v. CBS, Inc., 202 Cal. App. 3d 989 (Cal. Ct. App. 1988).
  59
       Ginsberg v. New York, 390 U.S. 629, 636 (1968).


                                                         16
Case 6:24-cv-01903-ACC-UAM                Document 96         Filed 03/31/25   Page 23 of 30 PageID 781




  created a significant risk of exposing children to indecent material in the safety of their

  homes.60

        The logic of Pacifica is especially important to consider in the context of LLMs. Just

  as broadcast signals enter the home and are extraordinarily difficult for parents to

  control, so too are the outputs of LLMs as products incorporating their capabilities

  proliferate in a manner that is readily accessible to children. Features powered by

  LLMs are now incorporated into the operating system of every new phone, tablet, and

  computer sold by Apple61 and most smartphones running Google’s Android mobile

  operating system.62 Likewise, Amazon Alexa smart speakers, which respond to the

  voice commands of adults and children alike, will soon incorporate generative AI

  technologies in responding to the queries of their users. 63

        Over a decade ago, Chief Justice Roberts observed in Riley v. California that

  “modern cell phones […] are now such a pervasive and insistent part of daily life that

  the proverbial visitor from Mars might conclude they were an important feature of

  human anatomy.”64 If every modern cell phone comes pre-installed with features


  60
       F.C.C. v. Pacifica Found., 438 U.S. 726, 748 (1978).
  61
    Apple Intelligence, APPLE, https://www.apple.com/apple-intelligence/ (last visited Mar. 20, 2025)
  (noting that ChatGPT is “seamlessly integrated” into Apple’s products).
  62
   Ryan Whitham, End of Life: Gemini will completely replace Google Assistant later this year, ARS
  TECHNICA (Mar. 14, 2025, 3:00 pm), https://arstechnica.com/google/2025/03/end-of-life-gemini-
  will-completely-replace-google-assistant-later-this-year/.
  63
    Panos Panay, Introducing Alexa+, the Next Generation of Alexa, AMAZON (Feb. 26, 2025),
  https://www.aboutamazon.com/news/devices/new-alexa-generative-artificial-intelligence (noting
  that Alexa+ is “infused [with] cutting-edge LLMs”).
  64
       573 U.S. 373 at 385 (2014).


                                                       17
Case 6:24-cv-01903-ACC-UAM            Document 96        Filed 03/31/25       Page 24 of 30 PageID 782




  powered by LLMs, then it is well-nigh impossible for adults and children alike to

  simply “avert their eyes”65 and ears from the outputs of this technology without

  unplugging themselves from modern life. These new realities have significant

  implications for how and when the developers and deployers of such technologies

  should be held liable for defects in their design, as discussed below.

  III. The Unique Characteristics of LLMs Justify Different Regulatory Approaches
       than for Human-Generated Speech.

       The interactive nature of LLMs, combined with their lack of consciousness and

  their consequential inability to engage in moral decision-making, presents dangers that

  are different in kind—not in degree—from those posed by human beings engaged in

  speech or other expressive activities. These differences justify regulatory and liability

  approaches for LLM outputs that are different from how the law has historically

  treated human expression.

       Leading First Amendment scholars have highlighted how government regulation

  of human expression is justified when speakers have greater access to information and

  when listeners are relatively dependent or vulnerable.66 Setting aside the question of

  whether LLM outputs are speech, the foregoing logic applies with particular force to

  LLM outputs. Users—including young people—engage with LLMs in interactive

  conversations in real-time. They may share information with an LLM that places them

  65
    Character AI Motion to Dismiss, ECF No. 59, at p. 12, n. 13 (quoting Erznoznik v. City of
  Jacksonville, 422 U.S. 205, 212 (1975)).
  66
   See, e.g., Helen Norton, Truth and Lies in the Workplace: Employer Speech and the First Amendment, 101
  MINN. L. REV. 31, 58-9 (2016).


                                                    18
Case 6:24-cv-01903-ACC-UAM         Document 96       Filed 03/31/25     Page 25 of 30 PageID 783




  in a position of great vulnerability, such as regarding their most intimate thoughts or

  a current, distressed emotional state.

       Yet unlike human beings in similar settings, LLMs are incapable of feeling or of

  moral reasoning. All they can do in response to a prompt—including one that suggests

  that someone is about to harm themselves—is to generate an output based on statistical

  inference. Such outputs may or may not prove as dangerous to someone interacting

  with an LLM as were Michelle Carter’s text messages in encouraging her boyfriend to

  take his own life. Yet the legal and public policy problem is that an LLM is not

  deterrable in the moment from generating an output that contributes to harm, as it

  lacks consciousness, emotions, and moral scruples. Correspondingly, the only way to

  guard against LLMs generating vile, obscene, defamatory, or other harmful outputs—

  even in response to the most anodyne of human prompts—is to build guardrails into

  such systems by design.67

  IV. Non-Expressive Design Elements Lack First Amendment Protection.

       In cases involving social media platforms that host and curate human speech,

  courts have drawn a clear line between regulating speech and regulating design. They

  have held that only “inherently expressive” design choices are protected by the First




  67
    See Yi Dong et al., Building Guardrails for Large Language Models (Feb. 2, 2024) (unpublished
  manuscript), https://arxiv.org/html/2402.01822v1 (explaining how “guardrails” need to be
  engineered into LLMs to prevent them from generating unwanted or harmful outputs, and surveying
  the landscape of socio-technical approaches to building such guardrails).


                                                19
Case 6:24-cv-01903-ACC-UAM              Document 96         Filed 03/31/25       Page 26 of 30 PageID 784




  Amendment.68 Correspondingly, non-expressive choices related to the design of

  platforms that curate human speech fall outside the ambit of the First Amendment.

       In one such case, a California state court denying in part a motion by numerous

  social media companies to dismiss a defective design claim on First Amendment

  grounds analogized the platforms’ design features to “the physical material of a book

  containing Shakespeare’s sonnets, rather than to the sonnets themselves.”69 Likewise,

  the Northern District of California recently ruled that defective design claims against

  social media platforms operated by tech giants such as Meta and Alphabet relating to

  features such as parental controls, age verification mechanisms, account deletion

  workflows, and reporting mechanisms for child sexual abuse material (“CSAM”) did

  not and could not implicate the platforms’ First Amendment rights, since such design

  features have no bearing on what speech such platforms can disseminate, or how they

  do so.70

       Correspondingly, regardless of whether LLM outputs warrant some degree of First

  Amendment protection, claims concerning the non-expressive design features of such

  systems—such as the absence of parental controls or inadequate warnings and

  reporting mechanisms—do not implicate the First Amendment at all. However, given

  68
     See, e.g., Moody v. NetChoice, LLC, 603 U.S. 707, 745 (2024) (Barrett, J., concurring) (citing Hurley v.
  Irish-American Gay, Lesbian and Bisexual Group of Boston, Inc., 515 U.S. 557, 568 (1995)).
  69
    In re Coordinated Proceeding Special Title Rule 3.550 Soc. Media Cases, 2023 Cal. Super. LEXIS 76992
  at *113.
  70
    In re Soc. Media Adolescent Addiction/Pers. Inj. Prods. Liab. Litig., 702 F. Supp. 3d 809, 835-38, 849-
  854 (N.D. Cal. 2023) (motion to certify appeal denied, No. 4:22-MD-03047-YGR, 2024 WL
  1205486 (N.D. Cal. Feb. 2, 2024)).


                                                      20
Case 6:24-cv-01903-ACC-UAM              Document 96          Filed 03/31/25       Page 27 of 30 PageID 785




  the fundamental differences between how humans think, feel, and speak, and how

  LLMs generate textual outputs in response to prompts, Amici urge this Court not to

  preemptively foreclose novel legal questions regarding the design of products

  incorporating LLMs merely because Defendants invoke the First Amendment,

  without even the benefit of a factual record.

  V. Further Factual Discovery is Warranted in This Case of First Impression.

       Given the fundamental differences between how LLMs generate outputs and how

  humans generate speech, and the fact that many of the Plaintiff’s claims relate to non-

  expressive design elements, granting the Defendants’ Motions to Dismiss is

  inappropriate at this stage. As in many other seminal First Amendment cases, 71 this

  case of first impression should proceed to discovery to develop an evidentiary record

  to permit the Court to make determinations about the relevance and application of the

  First Amendment to the facts giving rise to the Plaintiff’s claim.

       Character AI appears to conflate the existence of potential First Amendment

  defenses with the immunity that Section 230 of the Communications Decency Act (47

  U.S.C. § 230) confers on online content hosts against claims premised on traditional

  notions of publisher liability. Yet even in the context of recent litigation involving

  social media platforms, courts have rejected defendants’ attempts to invoke the First




  71
    See, e.g., Morse v. Frederick, 551 U.S. 393 (2007); Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675
  (1986); F.C.C v. Pacifica Found., 438 U.S. 726 (1978); Ginsberg v. New York, 390 U.S. 629 (1968).


                                                       21
Case 6:24-cv-01903-ACC-UAM               Document 96        Filed 03/31/25       Page 28 of 30 PageID 786




  Amendment as a blanket shield from suit.72 Instead, courts conduct a claim-by-claim

  analysis to determine whether each allegation seeks to impose liability for protected

  speech as opposed to conduct not shielded by the First Amendment.73

         Indeed, as Justice Barrett recently recognized in her concurrence in Moody v.

  NetChoice, First Amendment claims involving novel technology require “fact-

  intensive” analysis that “will surely vary from function to function and platform to

  platform.”74 In this case of first impression concerning the relationship between LLM

  outputs, the First Amendment, tort law, and products liability law, the arguments for

  denying motions to dismiss and proceeding to discovery to inform the Court’s decision

  could not be stronger.

                                              CONCLUSION

  For the foregoing reasons, Amici Encode, Design It For Us, and Young People’s

  Alliance respectfully urge this Court to deny the Defendants’ Motions to Dismiss (ECF

  Nos. 59, 61, 63, 65), and allow these proceedings to move forward. 75




  72
    In re Soc. Media Adolescent Addiction/Pers. Inj. Prods. Liab. Litig., 702 F. Supp. 3d 809, 835 (N.D. Cal.
  2023).
  73
       Id. at 836.
  74
       Moody v. NetChoice, LLC, 603 U.S. 707, 747 (2024) (Barrett, J., concurring).
  75
    Amici wish to acknowledge the research assistance of Santana Andazola, Jordan Chen, Fynn
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                                                      22
Case 6:24-cv-01903-ACC-UAM      Document 96     Filed 03/31/25     Page 29 of 30 PageID 787




  Respectfully submitted this 31st day of March, 2025,

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                                           23
Case 6:24-cv-01903-ACC-UAM           Document 96   Filed 03/31/25     Page 30 of 30 PageID 788




                               CERTIFICATE OF SERVICE

  I hereby certify that on March 31, 2025, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

  filing to all counsel of record.

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                                              24
